                          Case 25-10794-LMI          Doc 35      Filed 04/23/25       Page 1 of 1

                            UNITED STATES BANKRUPTCY COURT
                                 Southern District of Florida



In Re: Felix Armando Cuba                                                           Chapter 13
                              Debtor(s)                                             Case No. 25-10794-LMI
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                               MIAMI-DADE TAX COLLECTOR’S
                        NOTICE TO DEBTOR OF ADDITIONAL CREDITORS

DARIEL FERNANDEZ, as Tax Collector of MIAMI-DADE, Florida, hereby gives notice that the following certificate
holder(s) purchased at auction, the pre-petition, secured, real property tax liens of the MIAMI-DADE Tax Collector,
pursuant to Chapter 197, Florida Statutes.

Date: 04/23/2025
   Certificate          Bidder Address         Parcel Number          Tax Year        Cert. No.      Certificate     Int. Bid
     Holder                                                                                           Amount
KEYS FUNDING          PO BOX 71540,           04-3108-001-0470      2022, 2023,     250538          $19,985.83       18%
LLC - 5023            PHILADELPHIA, PA                              2024
53510                 19176-1540

         The certificate amount reflects the certificate amount due as of the date on this form. The claim of the
MIAMI-DADE Tax Collector, if any, is specifically set forth on a separate Proof of Claim and does not include the amounts
due the certificate holder(s) identified herein. **The tax certificate shall be redeemed at the interest rate due or the five
percent (5%) mandatory charge, whichever is greater, F.S. 197.472 (2). The Tax Collector does not represent the
Certificate Holders in this matter, nor does the notice to the Tax Collector constitute notice to the Certificate Holders. The
addresses of the certificate holders are set forth in the Certificate of Service.

                                             CERTIFICATE OF SERVICE
        I hereby certify that a true and correct copy of the foregoing has been provided either by electronic transmission
or by U.S. first class mail postage prepaid to:

The Certificate Holder(s) listed above
The United States Bankruptcy Court, Middle District of Florida,
Attorney for the Debtor: Jose A Blanco, jose@blancopa.com
Trustee: Nancy K. Neidich, Esq., P.O. Box 279806, Miramar, FL         33027-4452, e2c8f01@ch13herkert.com


                                                                   DARIEL FERNANDEZ
                                                                   TAX COLLECTOR
                                                                   MIAMI-DADE COUNTY

                                                                   By: _/s/__Wendy Montoya
                                                                   Paralegal
                                                                   Legal Services Division
                                                                   200 NW 2nd Avenue
                                                                   Miami, FL 33128
                                                                   305-375-5314 - Fax (305) 375-4601
                                                                   Email: WendyMontoya@mdctaxcollector.gov
                                                                   Email: MDTCBKC@miamidade.gov
